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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 MICHAEL BUSH,

          Plaintiff,                                   Case No.: 1:22-cv-10473-NMG
 v.

 THE WANG CENTER FOR THE
 PERFORMING ARTS, INC.
 d/b/a Boch Center,

          Defendant.


      DEFENDANT’S OPPOSITION TO PLAINTIFF’S REQUEST FOR RULINGS

          The Plaintiff’s Request for Rulings – which is, in fact, a motion that should have gone

through the Local R. Civ. P. 7.1(a)(2) – should be denied because The Wang Center for The

Performing Arts, Inc. d/b/a Boch Center’s (“The Wang Center’s”) opposition to the Plaintiff’s

Motion to Compel Initial Disclosures, Rule 26(f) Conference, Discovery, and Compliance with

Local R. Civ. P. 7.1(a)(2) (“Motion to Compel”) was not late.

          Local R. Civ. P. 7.1(b)(2) states that “[a] party opposing a motion shall file an opposition

within 14 days after the motion is served …” Plaintiff’s Motion to Compel was served on June 6,

2022 via ECF which made the deadline to file an opposition Monday June 20, 2022. June 20, 2022

was Juneteenth, a recognized federal holiday. Fed. R. Civ. P. 6(a)(1)(C) states that in calculating

deadlines, parties should “include the last day of the period, but if the last day is a Saturday,

Sunday, or legal holiday, the period continues to run until the end of the next day that is not a

Saturday, Sunday, or legal holiday.” This makes the due date for The Wang Center’s opposition

to Plaintiff’s Motion to Compel June 21, 2022, the next day that was not a legal holiday. The Wang

Center’s opposition to Plaintiff’s Motion to Compel was filed on June 21, 2022 and is therefore

timely.


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       To the extent that Plaintiff argues based on Local Rule Civ. P. 7.1(b)(2) (which states “[t]he

14-day period is intended to include the period specified by the civil rules for mailing time …”)

that the date for purposes of calculation should in fact be the date that is listed on the bottom of

Plaintiff’s Motion to Compel (June 4, 2022), that is similarly unavailing. Fourteen days from June

4, 2022 is Saturday June 18, 2022. The next non-weekend and non-holiday day would still be June

21, 2022 making The Wang Center’s opposition due on June 21, 2022. Had Plaintiff conferred

with The Wang Center prior to filing his Request for Rulings, in accordance with Local R. Civ. P.

7.1(a)(2), The Wang Center would have explained the appropriate date calculation under the Local

and Civil Rule of Procedure, which would have obviated the need for these filings.

       For these reasons, Plaintiff’s Request for Rulings should be denied.



Dated: June 27, 2022                          Respectfully submitted,
                                              The Wang Center for the Performing Arts, Inc.
                                              d/b/a Boch Center
                                              By its attorneys,
                                              /s/ Kelsey Tavares
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been furnished this 27th

day of June, 2022 via email and first class mail to:

       Michael Bush
       280 Lowell Street
       Carlisle, MA 01741
       frymesomebacon@protonmail.com

       Plaintiff
                                              /s/ Kelsey Tavares
                                              Kelsey Tavares




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